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              EXHIBIT F




                                                            EXHIBIT F
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Powered by

              Q080 Captain, (Police Department)
                          Recruitment #CBT-Q080-900532

             Department    Public Safety

                Analyst    Richard Marshall

         Date Opened       7/31/2015 8:00:00 AM

      Filing Deadline      8/14/2015 5:00:00 PM

                 Salary    $189,826.00 - $189,826.00/year

               Job Type    CBT Discrete

                     Go BackClick HERE to view benefits
INTRODUCTION
The Captain in the San Francisco Police Department (SFPD) is a
management level position that may be assigned to the Operations,
Administration, Special Operations, Airport or Chief of Staff Bureaus.
Captains report directly to a Commander or Deputy Chief.
Essential functions of the position include: directing, supervising and
monitoring personnel; training, developing and evaluating unit personnel;
reviewing and processing documents/communications; analyzing
procedures/information and developing plans; interacting with individuals
other than unit personnel; and community policing. Captains routinely
perform other law enforcement duties.

MINIMUM QUALIFICATIONS
        1. Sworn members of the SFPD who have completed probation and
           two (2) years of experience with the SFPD at the rank of Q-60
           Lieutenant. (Length of service is calculated from completion of
           probation.) AND

        2. Possession of a POST Management Certificate issued by California
           Department of Justice, Commission of Peace Officer Standards
           and Training; AND

        3. Possession of a valid Class C California Driver License.
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Applicants must meet minimum qualifications (1) and (2) above by
December 31, 2015 to be considered a “qualified candidate."

Evidence of possession of the POST Management Certificate must be
submitted no later than 5:00 p.m. on December 31, 2015 to dhr-
publicsafety@sfgov.org. Failure to submit the POST Management
Certification as specified above is cause for disqualification. Test scores will
be released only to qualified candidates.
HOW TO APPLY
Applications for City and County of San Francisco jobs are being accepted
through an online process. Visit www.jobaps.com/sf to register an account
(if you have not already done so) and begin the application process.
Select the “Police Captain” job announcement
          Select “Apply” and read and acknowledge the information
          Select either “I am a New User” if you have not previously
            registered, or “I have Registered Previously”
          Follow instructions on the screen
If you previously registered and have a JobAps account with the City
and County of San Francisco, but do not remember your UserID
and/or password please email dhr-publicsafety@sfgov.org for your
login information.
For applicants who do not have internet access, computers are
available for the public (from 8:00 a.m. to 5:00 p.m. Monday through
Friday) to file online applications in the lobby of the Dept. of Human
Resources at 1 South Van Ness Avenue, 4th Floor, San Francisco.
However, because the DHR offices close at 5:00 PM, it is
recommended that you arrive by at least 4:30 PM to allow time to
complete the application.
Applicants who file for this announcement will later be contacted by email.
Therefore, it is their responsibility to ensure that their registered email
address is accurate and kept up-to-date. Also, applicants must ensure that
email from CCSF is not blocked on their computer by a spam filter. To
prevent blocking, applicants should set up their email to accept CCSF mail
from @sfgov.org. In the experience section of the application, you need to
include only your experience as a Lieutenant in the San Francisco Police
Department.
Applicants will receive a confirmation email that their online application has
been received in response to every announcement to which they apply.
Applicants should retain this confirmation email for their records. Failure to
receive this email means that the online application was not submitted or
received.
SELECTION PROCEDURES
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The test will consist of written and oral components. At this time, all
components are planned for administration between September 9 and
October 31. Qualified applicants will be notified by email of the exact date,
time and location of the test components at least 10 days in advance of the
test. A final passing score will be established. Only those who attain a final
score above the pass point will be listed on the eligible list.
Q-80 Captain Examination Preparation Guide: A description of the test
components, including component weights, will be included in the
Preparation Guide. The Preparation Guide will also list knowledge and
abilities that may be evaluated by each test component. The Preparation
Guide is scheduled to be released approximately one month prior to the
administration of the first component. Qualified applicants will be notified via
email when the Preparation Guide becomes available.
Certification Rule: The certification rule for the eligible list resulting from this
test will be Rule of Ten (10) Scores. When making appointments, the
Appointing Officer will consider the following secondary criteria:
assignments, training, education, community involvement/volunteer work,
special qualifications, commendations/awards, bilingual certification and
disciplinary history.
Eligible List: The duration of the eligible list produced from this examination
will be thirty-six months and may be extended up to twelve months upon
approval of the Human Resources Director.
CONCLUSION
             1. All examination procedures are subject to the Civil Service
             Commission Rules, Volume II, Uniformed Ranks of the San
             Francisco Police Department available at
             http://www.sfgov3.org/index.aspx?page=300 and the policies
             and procedures of the Department of Human Resources. Copies
                                                                             th
             of this information can also be obtained at 1 South Van Ness, 4
             Floor, San Francisco, CA 94103.

             2. The terms of this examination announcement may be
             appealed under Civil Service Rule 211.6.1, provided that such
             appeal is submitted in writing in the Department of Human
             Resources, 1 S Van Ness Avenue, 4th Floor, San Francisco, CA
             94103-5413 by close of business on the 5th business day
             following the issuance date of this examination announcement.
             Go to www.sfgov.org/Civil_Service for more information on
             applicable appeal rights and submission requirements under the
             Civil Service Rules; and for Civil Service Rules, policies and
             procedures on announcements, applications and examinations.
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           3. Qualified candidates with disabilities who require a reasonable
           accommodation for this examination process must contact the
           Public Safety Team by phone at (415) 551-8943 or, if hearing
           impaired (415) 557-4810 (TDD), or in writing to the address
           listed in the note above (specify Class Q-80) or e-mail to dhr-
           publicsafety@sfgov.org as soon as possible, but no later than
           September 4, 2015.

           4. An applicant/eligible that changes his or her contact
           information (email, name, mailing address, phone, etc.) after
           having filed an application must promptly go to CCSF’s
           employment website: www.jobaps.com/sf . Click on “Update My
           Contact Info” button. Log in to your JobAps account by entering
           both UserID and password. Enter your new address/contact
           information. Click on the “Update Contact Information” button
           again. Failure to maintain current contact information my result
           in loss of eligibility.

           5. The City and County of San Francisco reserves the right to
           revise the examination plan if necessary.

           6. Applicants must be guided solely by the provisions of this
           announcement, including requirements, time periods and other
           particulars, except when superseded by federal, state or local
           laws, rules or regulations. Clerical errors may be corrected by
           posting the correction on the Department of Human Resources
           website at www.jobaps.com/sf.

           7. Important Employment Information for the City and County of
           San Francisco can be obtained at
           http://www.sfdhr.org/index.aspx?page=20 or at 1 South Van
                          th
           Ness Avenue, 4 Floor.

           8. Applicants are advised to keep copies of all items submitted to
           the Department of Human Resources Public Safety Examination
           Team.

Micki Callahan, Director of Human Resources
Announcement No: CBT-Q080-900532
Issued: July 31, 2015
Public Safety Team, 415.551.8943
PROMOTIVE
BENEFITS
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All employees hired on or after January 10, 2009 will be required (pursuant
to San Francisco Charter Section A8.432) to contribute 2% of pre-tax
compensation to fund retiree healthcare. In addition, most employees are
required to make a member contribution towards retirement, ranging from
7.5%-13.25% of compensation. For more information on these provisions,
please contact the personnel office of the hiring agency.
For more information about benefits, please click here.
